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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION

  JAMES EDWARD MAYEUX JR                         CASE NO. 6:20-CV-00092

  VERSUS                                         JUDGE ROBERT R.
                                                 SUMMERHAYS

  BARBARA R MAYEUX ET AL                         MAGISTRATE JUDGE PATRICK
                                                 J. HANNA

                                      JUDGMENT

        Before this Court is the report and recommendation of the magistrate judge,

  issued upon a sua sponte jurisdictional review in this case. 1 After an independent

  review of the record, noting the absence of objections filed, this Court concludes that

  the Magistrate Judge’s report and recommendation is correct and adopts the findings

  and conclusions therein as its own. Accordingly,

        IT IS ORDERED, ADJUDGED, AND DECREED that, consistent with the

  report and recommendation issued by the magistrate judge, plaintiff’s claims are

  DISMISSED without prejudice based on this Court’s lack of subject-matter

  jurisdiction.

        Signed at Lafayette, Louisiana, this 24th day of June, 2022.



                                          ________________________________
                                          ROBERT R. SUMMERHAYS
                                          UNITED STATES DISTRICT JUDGE

  1
        Rec. Doc. 105.
